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            IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT


                            No. 22-13321-HH

 ENVIRONMENTAL PROTECTION COMMISSION OF HILLSBOROUGH
                       COUNTY

                                Appellant,

                                     v.

                 MERCEDES BENZ USA, LLC, ET AL.

                                Appellees.

              On Appeal from The United States District Court
             for the Middle District of Florida, Tampa Division
                   Docket No. 8:20-cv-02238-VMC-MRM

ORIGINAL BRIEF OF APPELLANT ENVIRONMENTAL PROTECTION
     COMMISSION OF HILLSBOROUGH COUNTY, FLORIDA

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                     No. 22-13321-HH
   APPELLANT ENVIRONMENTAL PROTECTION COMMISSION OF
      HILLSBOROUGH COUNTY v. MERCEDES BENZ USA, LLC

    Certificate of Interested Persons and Corporate Disclosure Statement

      The undersigned attorney of record for Appellant certifies, pursuant to Fed.

R. App. P. 26.1 and 11th Cir. R. 26.1-1, 26.1-2, and 26.1-3, that the following is a

complete list of persons and entities with an interest in the outcome of this case:

   1. Barnett, III., H. Clay Barnett, Esq., counsel for Appellant

   2. Beasley, Allen, Crow, Methvin, Portis & Miles, P.C., counsel for Appellant

   3. Blanco, Carolina Yvonne, Esq., counsel for Robert Bosch LLC

   4. Cleary Gottlieb Steen & Hamilton LLP, counsel for Robert Bosch LLC

   5. Daimler Aktiengesellschaft, Appellee and parent company of Daimler

      International Nederland B.V

   6. Daimler International Nederland B.V., parent company of Daimler North

      America Corporation

   7. Daimler North America Corporation, parent company of defendant

      Mercedes-Benz, USA, LLC

   8. Environmental Protection Commission of Hillsborough County, Florida,

      Appellant

   9. Fletcher, Stacie B., Esq., counsel for Appellees Mercedes-Benz USA, LLC

      and Daimler Aktiengesellschaft


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 10. Gardner Brewer Hudson, P.A., counsel for Appellant

 11. Gibson, Dunn & Crutcher LLP, counsel for Appellees Mercedes-Benz USA,

    LLC and Daimler Aktiengesellschaft

 12. Gilliland, Rebecca D., Esq., counsel for Appellant

 13. Gould, C. Lance, Esq., counsel for Appellant

 14. Gunster, Yoakley & Stewart, P.A., counsel for Appellees Mercedes-Benz

    USA, LLC and Daimler Aktiengesellschaft

 15. Hawthorne, Alison D., Esq., counsel for Appellant

 16. Helms, Tyner D., Esq., counsel for Appellant

 17. Hill, Ward & Henderson, P.A., counsel for Robert Bosch LLC

 18. Judge, Jr., William J., Esq., counsel for Robert Bosch LLC

 19. Law Office of Thomas L. Young, P.A., counsel for Appellant

 20. Lawson, Richard P., Esq., counsel for Appellant

 21. Lee, Charity E., Esq., counsel for Robert Bosch GmbH

 22. Mainoo, Abena, Esq., counsel for Robert Bosch GmbH

 23. Mercedes-Benz USA, LLC, Appellee and subsidiary of Daimler North

    America Corporation

 24. Miles, Lauren E., Esq., counsel for Appellant

 25. Miles, III., W. Daniel “Dee”, Esq., counsel for Appellant

 26. Minder, Rachel N., Esq., counsel for Appellant


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 27. Munson, Gregory M., Esq., counsel for Appellees Mercedes-Benz USA,

    LLC and Daimler Aktiengesellschaft

 28. Nelson, Daniel W., Esq., counsel for Appellees Mercedes-Benz USA, LLC

    and Daimler Aktiengesellschaft

 29. Park, Jennifer Kennedy, Esq., counsel for Robert Bosch GmbH

 30. Robert Bosch GmbH

 31. Robert Bosch GmbH, parent company of Robert Bosch North America

    Corporation

 32. Robert Bosch LLC,

 33. Robert Bosch North America Corporation, parent company of Robert Bosch

    LLC

 34. Robert Bosch Stiftung GmbH, charitable foundation with majority

    ownership of Robert Bosch GmbH

 35. Schifino, John A., Esq., counsel for Appellee Mercedes-Benz USA, LLC

    and Daimler Aktiengesellschaft

 36. Schifino, William J., Esq., counsel for Appellees Mercedes-Benz USA, LLC

    and Daimler Aktiengesellschaft

 37. Squire Patton Boggs, counsel for Appellees Mercedes-Benz USA, LLC and

    Daimler Aktiengesellschaft




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  38. Yoshino, Troy M., Esq., counsel for Appellees Mercedes-Benz USA, LLC

     and Daimler Aktiengesellschaft, and

  39. Young, Thomas L., Esq., counsel for Appellant.

As a governmental agency, Appellant is not a publicly traded company or

corporation. Defendant and Appellee Daimler AG is a publicly held German

Aktiengesellschaft traded on the Frankfurt Stock Exchange with stock symbol

“MBG.” Mercedes-Benz Group AG does not have a parent corporation, and no

publicly held corporation owns 10% or more of Mercedes-Benz Group AG’s stock.




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              STATEMENT REGARDING ORAL ARGUMENT

      Appellant Environmental Protection Commission of Hillsborough County,

Florida respectfully requests oral argument pursuant to Federal Rule of Appellate

Procedure 34(a)(1) and Rule 28-1(c) of the Eleventh Circuit Rules. Oral argument

is warranted in this case because it raises important legal issues regarding the

pleading standard of Rule 8 of the Federal Rules of Civil Procedure, and specifically

its application to the Rules of the Environmental Protection Commission.




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                        JURISDICTIONAL STATEMENT

      The District Court had diversity jurisdiction over the underlying matter

pursuant to 28 U.S.C. § 1332, because Appellant Environmental Protection

Commission of Hillsborough County, Florida (“EPC”) is a citizen of the State of

Florida for diversity purposes, no defendant is a citizen of Florida, and the amount

in controversy exceeds $75,000. This Court has jurisdiction over this appeal

pursuant to 28 U.S.C. 1291 because Appellant appeals from a final judgment by a

District Court in this Circuit. The judgment was entered on September 30, 2022 and

Appellant filed a timely notice of appeal the same day.

                        STATEMENT OF THE ISSUES

      1. Whether the District Court erred in dismissing the Environmental

Protection Agency of Hillsborough County, Florida’s complaint when the complaint

was adequately pleaded pursuant to the pleading standards set forth in Federal Rule

of Civil Procedure 8.

      2. Whether the District Court erred in not allowing the Environmental

Protection Agency of Hillsborough County, Florida (“EPC”), to amend its complaint

after dismissal when the EPC demonstrated it could add additional detail.




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                              STATEMENT OF THE CASE

        This appeal arises from Appellant Environmental Protection Commission of

Hillsborough County, Florida’s (“EPC”) underlying action against Mercedes-Benz

USA, LLC (“Mercedes”), Daimler Aktiengesellschaft (“Daimler AG”) and Robert

Bosch GmbH1 (collectively “Defendants”) for the “defeat device” software installed

on and updated in certain Mercedes vehicles from 2007 to 2016. Doc. 156 at ¶ 26.

A “defeat device” is coded in the software of the vehicle’s emissions control system

to bypass the emissions control system and allow the vehicle to emit higher levels

of pollutants. Id. at ¶¶ 2, 8.

        The specific defeat device used in the Mercedes vehicles was designed to

detect when the vehicles are undergoing official emissions testing and turns on full

emissions controls only during the test. Id. at ¶ 47. The defeat device thus

suppresses emission controls when the vehicles otherwise sense they are not in a test

environment. Id. at ¶¶ 1, 47. For years, the Defendants continued their scheme,

selling approximately 250,000 affected vehicles in the United States, including in

Hillsborough County, Florida. Id. at ¶ 4. The Defendants continued to modify and

update the vehicles’ emissions control system, all the while enhancing the vehicles’

ability to cheat emissions standards. Id. at ¶¶ 47, 53, 60-61, 63, 82, 85-86, 89. As a


1
 Prior to the Court’s final dismissal of the case, Appellant filed a voluntary dismissal of Robert
Bosch GmbH which was granted on August 15, 2022. Doc. 181. Appellant therefore does not
appeal any claims against Robert Bosch GmbH.


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result, Defendants violated EPC Rule 1-8, which prohibits, inter alia, both the

“intentional inactivation, disconnection, removal, or other modification” of the

emission control system that results in the circumvention, defeat, or a deleterious

effect to the emission control system, as well as the manufacture or installation of

defeat devices. Mobile Source, EPC Rule Chapter 1-8 (2012). In its Fourth

Amended Complaint (“FAC”), Appellant specifically alleges detailed factual

allegations describing the defeat devices, the relationship between the Defendants,

the environmental and human impacts of Defendants’ scheme, and how the

Defendants violated EPC Rule 1-8. See, e.g., Doc. 156 at ¶¶ 3-8, 45-49, 55, 57-63,

67-75, 82-83, 85-86, 91, 103-07, 109-111.

      Prior to Appellant’s filing of the FAC, the District Court entered an order on

April 18, 2022, granting the Defendants’ Motion to Dismiss Appellant’s Third

Amended Complaint. Doc. 153. The District Court asserted that information was

lacking “about when any recalls or field fixes occurred . . . [and] how the field fixes,

recalls, or post-sale software updates tampered with the vehicles’ emission control

system . . . .” Id. at 15. Because the District Court essentially required Appellant to

meet a heightened Rule 9(b) pleading standard, Appellant filed a Motion to

Reconsider on April 18, 2022, respectfully requesting the District Court reconsider

its grant of dismissal. Doc. 154. The District Court denied this motion on May 13,

2022, but did not address Appellant’s allegations that the Third Amended Complaint



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included sufficient detail to allege violations of EPC Rule 1-8 as a result of

Defendants’ post-sale updates and recalls (and stated only that Appellant’s theory

that Defendants’ failure to remove the defeat device during any maintenance on the

vehicle was not a plausible claim). Doc. 166.

      In dismissing Appellant’s Third Amended Complaint, the District Court also

allowed Appellant fourteen days to amend its complaint to “plead greater detail

about the software updates, field fixes, and recalls on which its claims rely.” Doc.

153 at 16. The detail the Court requested included “when” and “how” the field fixes,

recalls, or post-sale software updates occurred. Id. at 15. Such detailed factual

allegations are not required in a complaint subject to the pleading standards of Rule

8. Nonetheless, Appellant was in the process of obtaining these details through

third-party discovery and planned to use such information to amend its complaint

with the detail the Court requested. See Doc. 155. Because Appellant was still

waiting on responses from the Freedom of Information Act (“FOIA”) request and

public record request it issued on March 17, 2022, to the Environmental Protection

Agency (“EPA”) and California Air Resources Board (“CARB”), respectively,

Appellant requested additional time to amend its complaint. Id.

      Appellant filed its Motion for Extension on April 28, 2022. Id. However,

when the deadline set by the District Court to amend its complaint arrived with no




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order from the District Court, Appellant filed a FAC2 on May 2, 2022, so as not to

waive its right to amend. See Doc. 156. However, Appellant expressly stated it was

filing the amendment in compliance with the District Court’s prior order, and it

reserved its rights under its Motion for Extension of Time to File a FAC. Id. at 1

n.1. Appellant asked that if the District Court granted the Motion for Extension of

Time, it consider the complaint filed on May 2, 2022, moot. Id.

        The District Court instead ruled that Appellant’s filing of a FAC (on the

deadline, before the Court ruled on the Motion for Extension of Time) mooted its

Motion for Extension of Time. Doc. 160. The District Court also stated Appellant

had not established good cause to extend its amendment deadline and that Appellant

was “free to conduct discovery for many months.” Id.

        When filing its FAC, Appellant added the details of Defendants’ post-sale

updates of which it was aware at the time. See Doc. 156. Defendants filed a Motion


2
  Plaintiff’s original Complaint, Doc. 1, and its First Amended Complaint, Doc. 3, were both filed
on September 24, 2020. Plaintiff’s Second Amended Complaint was filed on September 25, 2020.
Doc. 7. Each of these filings were to correct technical issues with the original Complaint
(specifically, an issue with the signature block and another with allegations regarding Defendants’
citizenship) and made no substantive changes. Compare Doc. 1 with Doc. 3 and Doc. 7. On
February 24, 2021, the Court stayed this action pending the United States Supreme Court's decision
on whether to grant certiorari in Volkswagen Group of America, Inc. v. The Environmental
Protection Commission of Hillsborough County, Florida, 142 S. Ct. 521 (2021) to decide whether
Appellant’s claims against Volkswagen (which are similar to the claims brought against
Defendants in this case) were preempted by the federal Clean Air Act. Doc. 81. After the Supreme
Court denied certiorari (and thus leaving the Ninth Circuit’s decision that claims for post-sale
tampering are not preempted), the Court lifted the stay on November 19, 2021. Doc. 97. On
December 16, 2021, Appellant filed its Third Amended Complaint. Doc. 116. Shortly thereafter,
Plaintiff issued its FOIA and public records requests to the EPA and CARB. Essentially, because
of the stay, litigation of this matter did not begin until nearly December of 2021.


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to Dismiss the FAC on May 16, 2022. Doc. 167. The Court again granted the

Defendants’ Motion to Dismiss on September 20, 2022, dismissing Appellant’s

claims with prejudice. Doc. 185. In this Order, the District Court claims Appellant

“did not have to add the exact details suggested by the Court in the prior Order

dismissing the third amended complaint,” but that Appellant still had “to provide

some additional information regarding the impact of the field fixes, recalls, or post-

sale software updates on the vehicles’ emission control systems.” Id. at 11.

      Because the Order dismissing the case was with prejudice, Appellant was not

given an opportunity to amend its complaint to add any information obtained from

its FOIA or public records requests to EPA and CARB. Instead, Final Judgment was

entered on September 30, 2022. Doc. 188. Appellant filed its Notice of Appeal the

same day. Doc. 189.

      This Court reviews the District Court’s dismissal of Appellant’s complaint for

failure to state a claim upon which relief may be granted de novo. Resnick v. AvMed,

Inc., 693 F.3d 1317, 1324 (11th Cir. 2012). Similarly, denial of leave to amend “due

to futility” is reviewed de novo, while denial of a motion to amend is reviewed for

abuse of discretion. Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001); Daniel

v. Hancock Cnty. Sch. Dist., 626 F. App'x 825, 829 (11th Cir. 2015).




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                        SUMMARY OF THE ARGUMENT

      Appellant’s Fourth Amended Complaint (“FAC”) was sufficiently pleaded in

accordance with Federal Rule of Civil Procedure 8. Specifically, the Federal Rules

and several years of Supreme Court precedent require a plaintiff to plead only a

“short and plain statement of the claim showing that the pleader is entitled to relief.”

Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009) (quoting Fed. R. Civ. P. 8). Rule 8 “does

not require ‘detailed factual allegations’ . . . .” Id. at 677-78.

      The District Court’s requirement that Appellant include detailed factual

allegations is incorrect in light of the applicable caselaw. See Doc. 167 at 11.

Appellant did not plead a fraud or similar count that would subject its complaint to

the heightened scrutiny of Federal Rule of Civil Procedure 9(b). See Swierkiewicz

v. Sorema N.A., 534 U.S. 506, 513 (2002) (identifying cases involving fraud or

mistake as the few exceptions to Rule 8’s pleading standard). Rather, the purpose

of Rule 8 is to give a defendant “fair notice” of the basis for the claims against it.

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

      The FAC contains more-than-sufficient allegations to put Defendants on “fair

notice” of the claims against them. The FAC details that Defendants knowingly

designed, engineered, tested, and installed post-sale updates in vehicles across the

United States through both regular maintenance and by field fixes or recalls. Doc.

156 at ¶¶ 7-9, 15-19, 25-27, 31, 40-63, 82-89. The FAC further pleads that by


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implementing these post-sale updates and modifications into the affected vehicles,

the vehicles emissions systems were tampered with and emissions were increased.

Id. at ¶ 85. Accordingly, each time Mercedes installed post-sale updates with a

defeat device, or a modification to the defeat device, to work around the emissions

control system of Mercedes vehicles, it was in violation of EPC Rule 1-8. See id. at

¶¶ 63, 104-06. Thus, “detailed factual allegations” such as the when, why, where,

or how of the post-sale updates or modifications, are not required to meet the

pleading standard of Rule 8. Dismissal of Appellant’s claims was thus erroneous

and should be reversed.

      Furthermore, at a minimum, Appellant should have been permitted the

opportunity to amend its complaint prior to dismissal with prejudice. Federal Rule

of Civil Procedure 15(a) provides that a court should give leave to amend “freely . .

. when justice so requires.” Fed. R. Civ. P. 15(a)(2). A district court may disallow

amendment where there exists some undue delay, bad faith, dilatory motive, or

repeated failure to cure deficiencies, or where amendment would be futile or would

prejudice the defendants. Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir. 2001).

None of these circumstances existed in the underlying case.

      Allowing Appellant to amend its complaint would not result in undue delay,

bad faith, dilatory motive, or prejudice to defendants—and the record below does

not assert as such. Further, contrary to the District Court’s assertion that Appellant



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has had several opportunities to cure the deficiencies in its complaint, the District

Court permitted Appellant only fourteen days to amend after its Third Amended

Complaint was dismissed. Doc. 153 at 16. Appellant requested additional time to

receive third-part discovery that had been issued and was pending for several months

before the dismissal of the Third Amended Complaint. Doc. 155. The District Court

denied this motion and again dismissed Appellant’s case after requiring “additional

information regarding the impact of the field fixes, recalls, or post-sale software

updates on the vehicles’ emission control systems.” Doc. 167 at 11. This dismissal

was with prejudice, even though Appellant had explained that given additional time,

it could add the level of detail the District Court requested, thus demonstrating that

amendment would not be futile. Appellant should therefore have, at minimum, been

given an opportunity to amend its complaint to meet the level of detail the District

Court demanded.

                                    ARGUMENT

   I.      Standard of Review

        This Court reviews the District Court’s dismissal of Appellant’s complaint for

failure to state a claim upon which relief may be granted de novo. Resnick v. AvMed,

Inc., 693 F.3d 1317, 1324 (11th Cir. 2012). And while a denial of a motion to amend

is reviewed for abuse of discretion, Bryant v. Dupree, 252 F.3d 1161, 1163 (11th

Cir. 2001), a denial of leave to amend “due to futility” is reviewed de novo because



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the district court “is concluding that as a matter of law an amended complaint ‘would

necessarily fail.’” Daniel v. Hancock Cnty. Sch. Dist., 626 F. App'x 825, 829 (11th

Cir. 2015) (quoting Freeman v. First Union Nat., 329 F.3d 1231, 1234 (11th Cir.

2003)).

   II.     The District Court Erred in Dismissing Appellant’s Well-Pleaded
           Complaint.
         Appellant’s Fourth Amended Complaint (“FAC”) was sufficiently pleaded in

accordance with Federal Rule of Civil Procedure 8. The Federal Rules of Civil

Procedure require that a pleading must contain a “short and plain statement of the

claim showing that the pleader is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662,

677 (2009) (quoting Fed. R. Civ. P. 8). This pleading standard established by Rule

8 applies in all civil cases, except where certain exceptions for fraud and mistake

require the heightened pleading standard of Rule 9(b). Swierkiewicz v. Sorema N.A.,

534 U.S. 506, 513 (2002). The Supreme Court has routinely “declined to extend

such exceptions to other contexts.” Id.

         Well-established Supreme Court precedent is clear that Rule 8 “does not

require ‘detailed factual allegations,’” but just requires “more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.”           Iqbal, 556 U.S. at 677-78

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In essence, “[t]o

survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. at 678


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(quoting Twombly, 550 U.S. at 570). Facial plausibility exists when plaintiff pleads

sufficient content to allow the court “to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (quoting Twombly, 550 U.S. at

556).

        The purpose of Rule 8’s pleading standard is to give a defendant “fair notice”

of the basis for the claims against it. Twombly, 550 U.S. at 555; Swierkiewicz, 534

U.S. at 512; ABB Turbo Sys. AG v. Turbousa, Inc., 774 F.3d 979, 984 (Fed. Cir.

2014); Harrison v. Benchmark Elecs. Huntsville, Inc., 593 F.3d 1206, 1214 (11th

Cir. 2010). For instance, the plaintiff in ABB Turbo Systems AG alleged state-law

torts of misappropriation of trade secrets and conspiracy to misappropriate trade

secrets and included facts regarding the plaintiff’s efforts to keep its information

confidential. 774 F.3d at 981. Specifically, the plaintiff stated its security efforts

“includ[ed] imposing confidentiality and nondisclosure obligations on [plaintiff’s]

employees that have access to [the trade secrets]” and marking documents with

secret information with confidentiality designations. Id. The district court dismissed

the complaint after holding the plaintiff did not sufficiently allege facts showing it

reasonably protected its trade-secret information, in accordance with Florida law.

Id. at 986. The Federal Circuit, applying the standards of Twombly and Iqbal,

concluded that the Middle District of Florida “was too demanding of specificity and

too intrusive in making factual assessments.” Id. Rather, the Federal Circuit



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reasoned the plaintiff alleged “enough facts to state a claim to relief that is plausible

on its face” and “nudged [its] claims across the line from conceivable to plausible.”

Id. (quoting Twombly, 550 U.S. at 570) (alteration in original). The plaintiff was

therefore not required to plead all details as to its own security measures.

        Appellant’s FAC similarly contains more-than-sufficient allegations to put

Defendants on “fair notice” of the claims against them. For example, the FAC pleads

Defendants knowingly designed, engineered, tested, and installed post-sale updates

in vehicles3 across the United States, including in Hillsborough County. Doc. 156

at ¶¶ 7-9, 15-19, 25-27, 31, 40-63, 82-89. Specifically, the FAC identifies that, due

to the steady service required by Mercedes vehicles to remain operative, numerous

post-sale updates to the emissions control systems of the vehicles at issue have been

implemented and installed. Id. at ¶ 60. The FAC further explains that it is “industry

standard” for post-sale software updates to be made available to dealerships via web-

based computer programs. Id. at ¶ 61. The FAC elaborates that when a vehicle is

brought to a dealership for maintenance, the dealership inputs the vehicle

identification number (“VIN”) into the computer program, which lists all available

and outstanding software updates for each particular vehicle, which are then

implemented at that time—often without the owner’s or lessee’s knowledge or


3
 The FAC also clearly identifies the affected vehicles as “(all models 2007-2016) ML 320, ML
350, GL 320, E320, S350, R320, E Class, GL Class, ML Class, R Class, S Class, GLK Class, GLE
Class, and Sprinter. Doc. 156 at ¶ 26.


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consent. Id. Additionally, the FAC states that manufacturers, including Mercedes,

also issue post-sale software changes pursuant to a field fix or recall via over-the-air

updates, wherein vehicles receive software updates via satellite or Wi-Fi

connections. Id. The FAC pleads that by implementing post-sale updates and

modifications into the affected vehicles, the vehicles’ emissions systems were

tampered with and emissions were increased. Id. at 85. Accordingly, each time

Mercedes installed post-sale updates with a defeat device, or a modification to the

defeat device, to work around the emissions control system of Mercedes vehicles, it

was in violation of EPC Rule 1-8. See id. at ¶¶ 63, 104-06.

      Moreover, the FAC also specifically points to the Joint Consent Decree filed

by the EPA and CARB with Mercedes, which referenced CARB’s lawsuit based on

Mercedes’ “prohibited Defeat Devices, as well as several unreported, unapproved

running changes and field fixes, that have resulted in, and continue to result in,

increased NOx emissions from each Subject Vehicle significantly in excess of

California limits.” Id. at ¶ 84 (quoting Doc. 2-1, Joint Consent Decree, California

v. Daimler AG and Mercedes-Benz USA, LLC, Civil Action No. 1:20-cv-2565 in the

District of Columbia, at 2) (emphasis added)). The FAC further points to the fact

that the Mercedes vehicles contain the same engine technology and Bosch-designed

software device as the vehicles contained in the Volkswagen litigation; the vehicles

would thus have required the same or similar recall-related software updates to make



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the defeat devices function more effectively (and help the auto manufacturers further

cheat U.S. emissions standards). Id. at ¶ 86.

      All of this information is sufficient to satisfy the pleading requirement of Rule

8 and put the Defendants on “fair notice” of the claims against them. Like in ABB

Turbo Systems AG, where the plaintiff alleged it has security measures in place but

the district court demanded too much specificity and intruded too far into factual

assessments, the District Court below also erroneously required Appellant to plead

extraneous “additional detail” that is not necessary to satisfy Rule 8. 774 F.3d at

986; Doc 185 at 11; see also Iqbal 556 U.S. at 677-78 (quoting Twombly, 550 U.S.

at 555) (concluding Rule 8 “does not require ‘detailed factual allegations’”).

Consequently, the “who, what, when, where, and how” need not be alleged, and the

absence of that much specificity is not fatal to the complaint. Appellant sufficiently

alleged that Defendants designed and implemented post-sale updates that affected

the emissions control system of the affected vehicles. Doc. 156 at ¶¶ 7-9, 15-19, 25-

27, 31, 40-63, 82-89. The Defendants’ Motion to Dismiss the FAC should therefore

have been denied, and this Court should reverse the District Court’s grant of

dismissal.

   III.   The District Court Erred in Not Allowing Appellant the Opportunity
          to Amend its Complaint.

      By dismissing the FAC with prejudice and thus not allowing Plaintiff to

amend, the District Court erred, especially after Plaintiff had demonstrated it could

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obtain and add additional detail regarding the Defendants’ post-sale updates.

      “Dismissal with prejudice is a sanction of last resort, applicable only in

extreme circumstances.” Barrett v. Scutieri, 281 F. App'x 952, 954 (11th Cir. 2008).

In fact, Federal Rule of Civil Procedure 15(a) provides that a court should give leave

to amend “freely . . . when justice so requires.” Fed. R. Civ. P. 15(a)(2). This

directive in the Federal rules “severely restrict[s]” a district court’s discretion to

dismiss a complaint without leave to amend. Bryant v. Dupree, 252 F.3d 1161, 1163

(11th Cir. 2001) (quoting Thomas v. Town of Davie, 847 F.2d 771, 773 (11th Cir.

1988)). However, a court may disallow amendment when “there has been undue

delay, bad faith, dilatory motive, or repeated failure to cure deficiencies by

amendments previously allowed,” where amendment “would cause undue prejudice

to the opposing party,” or “where amendment would be futile.” Id.

      Where a plaintiff does not have a sufficient opportunity to amend its complaint

and amendment would not be futile or prejudice defendants, a district court should

freely allow the plaintiff to amend. See id. at 1163-64. For instance, the district

court in Bryant dismissed the plaintiffs’ amended complaint and gave several

reasons for its dismissal—none of which this Court found valid. Id. First, the district

court claimed the plaintiffs had already had an opportunity to amend their complaint.

Id. at 1163. Instead, this Court concluded that the amended complaint was filed as

a matter of course and that the plaintiffs did not ask for leave to amend until the



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renewed motion to dismiss came before the district court; thus, the plaintiff had not

been given an opportunity to amend nor had plaintiffs repeatedly failed to cure

deficiencies through previously allowed amendments. Id. at 1164.

      Second, the district court in Bryant stated that it had given plaintiffs notice of

the possible deficiencies in their complaint, which they did not cure with their

amended complaint. 252 F.3d at 1164. To the contrary, this Court held the prior

opinions actually gave the impression that the complaint satisfied the relevant

pleading standard. Id. Next the district court denied leave to amend because of

futility in light of the fact that the amended complaint contained “few if any new

allegations.” Id. Because of the prior impression that the complaint met the pleading

standard, as well as the plaintiffs’ indication that, if given the chance, they would

meet the pleading requirement, this Court concluded that amendment would not be

futile. Id. And finally, despite the district court’s holding that amendment would

prejudice the defendants due to the length of litigation, this Court held that “[t]he

lengthy nature of litigation, without any other evidence of prejudice to the

defendants or bad faith on the part of the plaintiffs, does not justify denying the

plaintiffs the opportunity to amend their complaint.” Id. As there was no evidence

that allowing an amendment at the current stage of litigation would prejudice the

defendants, this Court held amendment should have been allowed. Id.




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      Moreover, in the case cited by the District Court to justify its decision to grant

dismissal with prejudice, Doc. 185 at 14, the plaintiff made multiple substantive

amendments to its complaint prior to the court’s dismissal with prejudice. Inman v.

Am. Paramount Fin., 517 F. App’x 744, 746-47 (11th Cir. 2013). The plaintiff first

amended its complaint to add claims against an additional defendant. Id. at 746.

When that defendant filed a motion to dismiss the first amended complaint pursuant

to Federal Rule of Civil Procedure 12(b)(6), the district court concluded the amended

complaint failed to satisfy the pleading standards of both Rule 8 and Rule 9(b) and

dismissed the amended complaint without prejudice. Id. The plaintiff’s second

amended complaint was dismissed for lack of subject matter jurisdiction, and after

plaintiff filed a third amended complaint, the defendant again moved to dismiss

pursuant to Rule 12(b)(6). Id. The district court dismissed certain of plaintiff’s

claims again, but afforded the plaintiff yet another opportunity to plead its claims

with sufficient particularity. Id. at 747. The court then specifically identified the

deficiencies in the plaintiff’s complaint and expressly stated the facts the plaintiff

needed to include to survive dismissal with prejudice. Id. Instead of filing an

amended complaint, the plaintiff moved to voluntarily dismiss its claims, which the

district court denied, and concluded that the failure to file an amended complaint

within the period allowed operated as a dismissal with prejudice. Id. This Court

upheld the district court’s decision, concluding that the claims were insufficiently



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pleaded and that it was within the court’s discretion to dismiss the complaint with

prejudice after the plaintiff failed to amend its complaint with the particular facts the

plaintiff was instructed by the lower court to plead. Id. at 748, 750.

      None of the circumstances justifying denial of leave to amend were present

when the district court granted dismissal with prejudice. Similar to the plaintiff in

Bryant, whose first amended complaint was filed as a matter of course and who had

not failed to cure deficiencies through previously allowed amendments, 252 F.3d at

1164, Appellant amended its complaint initially to correct technical issues and make

changes to conform with the Ninth Circuit’s decision in In re Volkswagen "Clean

Diesel" Mktg., Sales Pracs., & Prod. Liab. Litig., 959 F.3d 1201 (9th Cir. 2020), and

was not given a full and fair opportunity to cure the deficiencies the District Court

purported to find in Appellant’s Third Amended Complaint. Contrary to the District

Court’s opinion that dismissal with prejudice was appropriate because Appellant had

amended its complaint four times in two years, Doc. 185 at 14, only two of these

amendments included additional substantive information.

      Appellant’s first amendment to the complaint was filed the same day as the

initial complaint to fix a signature block error. Doc. 3. The second amendment

occurred after the District Court ordered the Appellant to add information regarding

the citizenship of Mercedes-Benz USA, LLC and Robert Bosch, LLC. Doc. 7, see

also Doc. 6. The third amendment occurred after the Ninth Circuit’s decision in In



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re Volkswagen, 959 F.3d 1201, included substantive changes in line with the Ninth

Circuit’s decision on preemption, and was made prior to the District Court even

ruling on any Defendant’s motion to dismiss. Doc. 116. Then, after the Third

Amended Complaint was dismissed, Appellant specifically requested more than the

fourteen days given by the District Court to amend its complaint, so as to obtain and

include additional, specific details that the District Court requested regarding

Defendants’ post-sale updates. Doc. 155. The District Court denied this request;

accordingly, even the additional substantive allegations included in the Fourth

Amended Complaint were minimal. Doc. 160; compare Doc. 116 with Doc. 156.

      In fact, Appellant specifically informed the District Court that it expected the

documents and information obtained from the FOIA request and public records

request it issued to EPA and CARB would contain information that would allow

Appellant to amend into its complaint the specific detail the District Court requested

when dismissing the Third Amended Complaint. Doc. 155 at 5. Appellant gave the

District Court detailed information describing what it requested from these agencies

and where Appellant was in the process of obtaining the requested documents. Id.

at 5-6. In doing so, Appellant clearly demonstrated that it could include additional

detail such that further amendment would not be futile.

      The District Court nonetheless denied Appellant’s motion for extension of

time to file its FAC, stating that Appellant had “not established good cause to extend



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its amendment deadline . . . .” Doc. 160. Then, in denying the FAC with prejudice,

the District Court stated that Appellant “did not have to add the exact details

suggested by the Court in the prior Order dismissing the third amended complaint,”

but that the FAC was still lacking “additional information regarding the impact of

the field fixes, recalls, or post-sale software updates on the vehicles’ emissions

control systems.” Doc. 180 at 11.

        These facts further highlight the differences between Appellant’s case and the

Inman case cited by the District Court. In Inman, the district court dismissed the

plaintiff’s complaint three times and identified specific, detailed information the

plaintiff needed to include in its fourth amended complaint to state a claim upon

which relief could be granted. 517 F. App’x at 746-47. Here, the District Court only

afforded Appellant one opportunity to amend its complaint, but not even a full and

fair opportunity to amend, as it denied Appellant’s request for more time to ensure

that its FAC included the detail the District Court requested in its order granting

dismissal of the Third Amended Complaint. Doc. 153, Doc. 160. Additionally, the

Inman Court dismissed the plaintiff’s case with prejudice after the plaintiff failed to

amend its complaint to include the specific facts the district court instructed the

plaintiff to include.4 517 F. App’x at 747. Appellant did not fail to include specific


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 While its Motion for Extension of Time, Doc. 155, was pending, the deadline set by the District
Court to file the Fourth Amended Complaint arrived. So as not to encounter the same fate as the
plaintiff in Inman who failed to amend its complaint within the deadline set by the district court,


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facts required by the District Court, because apparently the District Court was not

requiring Appellant to plead the specific factual detail it requested in dismissing the

Third Amended Complaint. See Doc. 180 at 11 (stating Appellant “did not have to

add the exact details suggested by the Court in the prior Order dismissing the third

amended complaint”).

       Finally, allowing Appellant an additional opportunity to amend its complaint

would not prejudice the Defendants, and the District Court’s order did not indicate

as much.     See Doc. 185.        This case is still in the early stages of litigation.

Specifically, a lengthy stay of litigation pending the Supreme Court’s decision on

whether to grant certiorari to decide whether similar claims against Volkswagen

were preempted by the Clean Air Act was implemented shortly after Appellant filed

its complaint.     See Doc. 81.       Accordingly, this litigation did not truly start

progressing until late November of 2021, when the stay was lifted. Doc. 97. At the

time the District Court dismissed Appellant’s FAC, the parties were already

engaging in the discovery process, had exchanged discovery requests, and had

negotiated Confidentiality and Clawback Orders. See Doc. 182. The parties could




517 F. App’x at 747, Appellant filed the FAC, but explained that it did not include the detail
expected from the EPA and CARB documents requested and asked the District Court to moot the
FAC if it granted Appellant’s Motion for Extension of Time. Doc. 156 at 1 n.1. Instead, the
District Court held that Appellant’s filing of the FAC mooted its Motion for Extension of Time.
Doc. 160.


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proceed as they were with the discovery process should Appellant be permitted to

amend its FAC.

      Therefore, to the extent this Court agrees with the District Court that the FAC

is lacking sufficient detail to satisfy the pleading standard of Rule 8, the Court should

nonetheless reverse the District Court’s dismissal with prejudice and allow

Appellant the opportunity to amend its complaint and include details obtained

through its FOIA and public records request from EPA and CARB.

                                   CONCLUSION

      For the reasons stated herein, the Court should reverse the District Court’s

dismissal of Appellant’s Fourth Amended Complaint with prejudice. The Fourth

Amended Complaint contained sufficient detail to put the Defendants on fair notice

of the claims against them. Alternatively, Appellant should have been permitted to

amend its complaint to add the additional detail the District Court required.

Dated: November 21, 2022

                                                Respectfully submitted,
                                                /s/ C. Lance Gould
                                                Counsel for Appellant




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                                      /s/ C. Lance Gould
                                      OF COUNSEL




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                         CERTIFICATE OF SERVICE
       I hereby certify that on November 21, 2022, a true and accurate copy of the
foregoing was filed with the Court via CM/ECF, which will send a notice of
electronic filing to all counsel of record, and by paper copies sent via U.S. Postal
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                                              /s/ C. Lance Gould




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